Case 20-10808-elf       Doc 34    Filed 08/13/20 Entered 08/13/20 16:38:04            Desc Main
                                  Document      Page 1 of 2



                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE: Gilberto Aponte
                                        Debtors
 Toyota Motor Credit Corporation                                  BK NO. 20-10808-ELF
                                        Movant
                   v.                                             CHAPTER 13
 Gilberto Aponte
                                        Respondent
                and
 William C Miller
                                        Additional Respondent

         NOTICE OF MOTION, RESPONSE DEADLINE AND HEARING DATE

       Toyota Motor Credit Corporation has filed a Motion for Relief from Automatic Stay,

with the court for Relief from the automatic stay of 11 U.S.C. §362.

Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to
consult an attorney.)

   1. If you do not want the court to grant the relief sought in the motion, then on or before
      August 27, 2020 you or your attorney must do all of the following:
          a. File an answer explaining your position at:
             United States Bankruptcy Court
             Robert NC Nix Sr Federal Courthouse
             900 Market Street
             Philadelphia, PA 19107

              If you mail your answer to the bankruptcy clerk’s office for filing, you must mail
              it early enough so that it will be received on or before the date stated above; and
           b. Mail a copy to the Movant’s attorney
              Robert Wendt, Esquire
              Leopold & Associates, PLLC
              80 Business Park Drive, Suite 110
              Armonk, NY 10504

   2. If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above
      and attend the hearing, the court may enter an order granting the relief requested in the
      motion.
   3. A hearing on the motion is scheduled to be held before the Honorable Eric L Frank, the
      United States Bankruptcy Judge, in at the United States Bankruptcy Court, Robert NC
      Nix Sr Federal Courthouse, 900 Market Street, Philadelphia, PA on September 8, 2020
      at 2:00 pm or as soon thereafter as counsel can be heard, to consider the motion.
Case 20-10808-elf    Doc 34    Filed 08/13/20 Entered 08/13/20 16:38:04          Desc Main
                               Document      Page 2 of 2



  4. If a copy of the motion is not enclosed, a copy of the motion will be provided to you if
     you request a copy from the attorney named in paragraph 1(b)
  5. You may contact the Bankruptcy Clerk’s office at to find out whether the hearing has
     been canceled because no one filed an answer.


  Date: August 13, 2020



                                                      /s/ Robert Wendt, Esquire
                                                      By: Robert Wendt, Esquire
                                                      Attorney ID No.
                                                      Leopold & Associates, PLLC
                                                      80 Business Park Drive, Suite 110
                                                      Armonk, New York 10504
                                                      (914)-219-5787
                                                      Attorney for Movant
